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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES,

      Plaintiff,
                                                       Case No.      11-20129
v.

SALVATORE BATTALGLIA (D-33),

      Defendant.
                                           /

       OPINION AND ORDER DENYING DEFENDANT’S MOTION TO SEVER

      Before the court is Defendant Salvatore Battalgia’s motion to sever. The

government opposes the motion, and the court has deemed Defendant to have waived

any hearing. (See 10/01/13 Text Entry Order.) The motion will be denied.

      Defendant is a former, and perhaps current, member of the Devils Diciples

Motorcycle Club. He stands accused of conspiracy to manufacture, distribute, and

possess with intent to distribute controlled substances. He is charged in Count Three of

the Third Superseding Indictment with a violation under 21 U.S.C. § 841(a)(1).

Defendant does not assert that the charges against him were improperly joined under

Federal Rule of Criminal Procedure 8. Rather he contends that the court should sever

the charges against him under Federal Rule of Criminal Procedure 14(a), which allows

for severance when joinder of offenses or defendants for trial “appears to prejudice a

defendant.”

      A motion to sever is left to the discretion of the trial court. United States v.

Lopez, 309 F.3d 966, 971 (6th Cir. 2002). However, “[a]s a general rule, persons jointly
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indicted should be tried together because ‘there is almost always common evidence

against the joined defendants that allows for the economy of a single trial.’” Id. (quoting

United States v. Phibbs, 999 F.2d 1053, 1067 (6th Cir.1993)). The Sixth Circuit has

instructed that “[s]everance should be granted ‘only if there is a serious risk that a joint

trial would compromise a specific trial right of one of the defendants, or prevent the jury

from making a reliable judgment about guilt or innocence.’” Id. (quoting Zafiro v. United

States, 506 U.S. 534, 539 (1993)). Defendant has not shown that any such risk exists

here.

        Defendant argues that he was a “peripheral conspirator,” and that the charges

against him are straightforward, as compared to the complex charges allegedly

asserted against his co-defendants. The government, however, disagrees, and asserts

that the evidence will show his participation stretched back, at least until July 2010, and

continued through the date of the Indictment. (Gov’t’s Br. at 4-5.) Defendant also

asserts that some of his (unspecified) co-defendants could offer evidence of his

innocence. Not only does Defendant not offer details about this assertion, but it is

possible this consideration may become moot as pre-trial proceedings progress. It is

yet to be known who will or will not testify, who will or will not plead guilty, and who will

or will not be in the same trial grouping, definitively, with Defendant.

        Further, “[t]he fact that a defendant may have a better chance at acquittal if his

trial were severed does not require the judge to grant his motion: the defendant must

show ‘substantial,’ ‘undue,’ or ‘compelling’ prejudice.” United States v. DeFranco, 30

F.3d 664, 669–70 (6th Cir.1994). Defendant speaks in generalities but has not shown



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that there is any serious risk of significant prejudice which overcomes the economy of a

single trial. Accordingly,

          IT IS ORDERED that the motion to sever [Dkt. # 667] is DENIED.


                                                               s/Robert H. Cleland
                                                              ROBERT H. CLELAND
                                                              UNITED STATES DISTRICT JUDGE

Dated: December 27, 2013


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 27, 2013, by electronic and/or ordinary mail.

                                                               s/Lisa Wagner
                                                              Case Manager and Deputy Clerk
                                                              (313) 234-5522




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